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                     IN THE UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF MARYLAND
                                  Southern Division


 9400 Isaac Building 2, Inc.,

                 Plaintiff,

        v.

                                                            Case No.: ________________
 Cat5 Contracting, Inc.,

 SERVE: HL Statutory Agent, Inc.,
        Registered Agent
        5811 Pelican Bay Blvd., Suite 650
        Naples, FL 34108

                 Defendant.


                                         COMPLAINT
       COMES NOW the Plaintiff 9400 Isaac Building 2, Inc., by counsel, who hereby submits

this Complaint against Defendant Cat5 Contracting, Inc., and state in support thereof as follows:

                                           PARTIES

   1. Plaintiff 9400 Isaac Building 2, Inc. (“Plaintiff” or “9400 Isaac”) is a Maryland corporation

with its principal office at 9400 Livingston Road, Suite 470, Fort Washington, Maryland 20744.

   2. Defendant Cat5 Contracting, Inc. (“Defendant” or “CAT5”) is a Florida corporation with

its principal office at 4061 Bonita Beach Rd, Bonita Springs, Florida 34134.

                                       JURISDICTION

   3. This Court has personal jurisdiction over Defendant as it transacted business in the state of

Maryland.

   4. Federal diversity jurisdiction exists pursuant to 28 U.S.C. § 1332. Plaintiff is a Maryland a

corporation with its principal place of business in Maryland and Defendant is a corporation with

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its principal place of business in Florida. The controversy at issue concerns an amount greater than

$75,000.

                                   STATEMENT OF FACTS

    5. Beginning on or about June 29, 20211, Plaintiff has been the title owner of the real property

located at 9400 Livingston Road, Fort Washington, Maryland (the “Property”).

    6. The Property houses a commercial office building containing 98,245 square feet of land

and 63,344 square feet of building area.

    7. Sometime in July of 2020, the building on the Property was damaged by a rainstorm.

Shortly thereafter, an individual named Eun S. Lee (“Mr. Lee”), as an agent of 9400 Isaac, made

a claim against the insurer, State Farm.

    8. Upon Plaintiff’s claim, State Farm initially approved approximately $ 1.0 million in

coverage to repair the said damage.

    9. Upon Mr. Lee’s inquiry as to approved contractors to perform the work, State Farm

recommended Defendant as a contractor to repair the Property.

    10. On July 21, 2020, Hyosug Lee (“Mrs. Lee”), on behalf of Plaintiff, 1 and Cat Contracting,

Inc. 2 entered into a contractor agreement (the “Contract”) under which Defendant agreed to make

the said repairs. A copy of the Contract is attached hereto as Exhibit A.

    11. From the date of the Contract until May 15, 2021, Plaintiff forwarded to Defendant funds

in the amount of $497,826.30, arising from the insurance proceeds.




1
        Mr. Lee and Mrs. Lee are husband and wife. Mrs. Lee signed the Contract as a director of
the corporate Plaintiff.
2
        Upon information and belief, there is no active corporation called Cat Contracting, Inc. at
the time which the Contract was ratified. Cat 5 Contracting, Inc., however, maintained active status
in the state of Florida.
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   12. Since the date of the Contract, Defendant placed a temporary covering on the roof of the

Property. Besides that, Defendant has failed to make any substantive repairs to date.

   13. As a result of Defendant’s failure to make any repairs, the Property continued to flood.

Therefore, Plaintiff has had to continuously discount rents to avoid its tenants from terminating

their leases. To date, the loss suffered is approximated at $80,000 in value.

   14. Prior to entering the Contract, as well as in writing within the Contract, Defendant made

an affirmative representation that it is licensed to do business in Maryland and that it has all

“necessary licenses and permits” to perform the work. Exh. A at 4, ¶ 16.

   15. At the time of the Contract, Defendant was not licensed to do business in the state of

Maryland. In fact, Defendant formed a new entity named Maryland Cat5 Contracting Inc. on

August 3, 2020, thirteen (13) days after the Contract was ratified.

   16. Further, Defendant did not obtain its Maryland contractor license until May 6, 2021,

approximately ten (10) months after the date of the Contract. A copy of the said contractor license

is attached hereto as Exhibit B.

   17. In other words, Defendant misrepresented its status as a Maryland business and Maryland-

licensed contractor to induce Plaintiff to enter into the Contract. Notably, the said

misrepresentation was memorialized in the Contract. Exh. A at ¶ 16 (“Contractor represents [. . .]

that is has all required licenses and permits necessary in connection with performance by

Contractor hereunder[.]”).

   18. Plaintiff reasonably relied on the said misrepresentation when entering into the Contract.

Indeed, it had no reason to enter a contract with an entity that (i) was not licensed to do business

in Maryland and (ii) did not have a Maryland contractor’s license. Md. Code Bus. Reg. § 17-602(a)




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(“Except as provided in 8-317 of this article, a person must have a construction license whenever

the person does construction business in State.”)

   19. Pursuant to its reliance and per the terms of the fraudulently induced contract, Plaintiff

made an initial payment in the amount $497,826.30, which has been held by the Defendant without

doing any actual work.

   20. Plaintiff did not discover the truth until after it began making inquiries to ascertain the

reasons for significant delay, which stretched well into 2022. In the meantime, no work was done

on the premises and leaking actually occurred in the building, which negatively impacted the

commercial tenants located there (and caused the landlord to reduce rents).

   21. On March 16, 2022, Defendant retained counsel and sent a letter to Mr. Lee demanding the

payment of the purported balance due in the amount of $550,573.92 despite not performing any

substantive repair. A copy of the said letter is attached hereto as Exhibit C.

   22. At present, Defendant is still attempting to collect over $1.0 million in payment despite (i)

having misrepresented its status in 2020 and (ii) having done no actual work.

   23. Plaintiff seeks to void the Contract, reclaim any funds advanced to Defendant and recover

any damages suffered from the misrepresentation. It has not taken any action to ratify Defendant’s

fraudulent conduct.

                               Count I – Fraud in the Inducement

   24. Plaintiff repeats and re-alleges the foregoing paragraphs by reference as if fully set forth

herein.

   25. In entering into the Contract, Defendant materially misrepresented its status as Maryland

business and Maryland licensed contractor.




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   26. Plaintiff reasonably relied upon Defendant’s deliberate misrepresentation when entering

into the Contract. Without that representation, Plaintiff would not have entered the contract.

   27. Defendant made the material misrepresentation with knowledge of falsity and the intent to

induce Plaintiff into entering into the Contract.

   28. As a result of Defendant’s material misrepresentation, Plaintiff incurred the damages of

$497,826.30 reflecting the payment already made to Defendant and $80,000 reflecting the amount

of discounts she had to provided to the tenants at the Property.

   29. The Contract is void ab initio and subject to rescission as a result of the fraud.

                                   Count II – Unjust Enrichment

   30. Plaintiff repeats and re-alleges the foregoing paragraphs by reference as if fully set forth

herein.

   31. Plaintiff made the payment in the amount $497,826.30 to Defendant for the work described

in the Contract. As described herein, the Contract is void ab initio due to Defendant’s affirmative

misrepresentations.

   32. From the date of the Contract to present, Defendant held the said funds without doing any

actual work.

   33. Under the circumstances, it is inequitable for Defendant to retain the said funds.

WHEREFORE, Plaintiff respectfully requests that this Court grant the following relief:

   A. Rescission of the Contract for the reasons stated herein;

   B. Judgment in favor of Plaintiff and against Defendant in the amount of $497,826.30,

          reflecting the funds which Plaintiff already paid to Defendant;

   C. Judgment in favor of Plaintiff and against Defendant in the amount of $80,000, reflecting

          the damages Plaintiff incurred as a result of Defendant’s fraud;



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   D. Plaintiff’s reasonable attorneys’ fees and costs, and prejudgment interest; and

   E. Such other relief as this Court deems just and equitable.



Dated: April 1, 2022.                       Respectfully Submitted,
                                            9400 Isaac Building 2, Inc.




                                            _/s/ J. Chapman Petersen_____________________
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